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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI

                                       )
 ANGELA GATERMAN and                   )
 ROBERT A. PAULI, JR.,                 )      No. 17-CV-2837-JCH
                                       )
       Plaintiffs,                     )
                                       )
 v.                                    )        [PROPOSED] ORDER
                                       )
 KAVULICH & ASSOCIATES,                )
 P.C. and GARY KAVULICH,               )
                                       )
       Defendants.                     )
                                       )
                                       )
                                       )


       This matter came before the Court on Plaintiffs’ application for entry

 of default judgment against Defendants KAVULICH & ASSOCIATES, P.C.

 and GARY KAVULICH, under Rule 55(b) of the Federal Rules of Civil

 Procedure. After having considered the arguments and authorities submitted

 by Plaintiffs, the Court finds as follows:

       1.     A default was entered by the Clerk of the Court against

 Defendants on April ________, 2018.

       2.     Neither Defendant is a minor, an incompetent person, or a

 member of the military service of the United States.

       3.     Neither Defendant appeared or otherwise defended in this

 action.

       THEREFORE, IT IS ADJUDGED AND ORDERED that:
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                                         I.

       Defendants violated 15 U.S.C. § 1692i of the Fair Debt Collection

 Practices Act (“FDCPA”), by filing a lawsuit against Plaintiff Robert A. Pauli,

 Jr. in New York City, even though, at the time, Mr. Pauli resided in Missouri,

 and Mr. Pauli had signed the contract sued upon in Missouri. Defendants

 also violated §§ 1692e, e(2), e(5), and e(10), by falsely representing that

 Defendants had the legal right to sue on a debt that had already been

 extinguished, and by falsely representing that EDS Management Corp. had

 the legal right to sue Plaintiffs. Finally, Defendants violated §§ 1692e, e(3),

 and e(10), by falsely representing that an attorney had meaningfully

 reviewed the pleadings in the New York City lawsuit. See, e.g., Morgan v.

 Vogler Law Firm, P.C., Case No. 4:15-CV-1654 SNLJ, 2016 U.S. Dist. LEXIS

 95781 at *11-12 (E.D. Mo. July 22, 2016); see also Clomon v. Jackson, 988

 F.2d 1314, 1320-21 (2d Cir. 1993).

                                        II.

       Under the common law of Missouri, Defendants committed the tort of

 malicious prosecution against Plaintiffs. All of the elements of malicious

 prosecution are present: (1) A lawsuit was commenced against Plaintiffs in

 the New York City Civil Court in December 2016; (2) said lawsuit was

 instigated by Defendants; (3) the lawsuit has terminated in Plaintiffs’ favor;

 (4) Defendants lacked any probable cause to file the lawsuit, in that

 Defendant had voluntarily dismissed identical claims with prejudice just two
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 months earlier; (5) it appears that Defendants’ actions were malicious, as

 demonstrated by the fact that Defendants continued to maintain the lawsuit,

 and even applied for a default judgment, after they had been warned that

 their lawsuit was frivolous; and (6) Plaintiffs sustained damages in the form

 of attorney fees incurred to defend against the lawsuit, as well as emotional

 distress. See State ex rel. O’Basuyi v. Vincent, 434 S.W.3d 517 (Mo. banc

 2014).

                                           IV.

          Plaintiffs are entitled to entry of a default judgment, and they are

 entitled to recover the sum certain of $4,593.75 from Defendants.

          The Court hereby grants Plaintiffs leave to take discovery on the issue

 of malice, for the purposes of establishing liability and punitive damages on

 their malicious prosecution, including depositions of Defendants. Plaintiffs

 must complete all such further discovery no later than ____________________,

 2018.

          An evidentiary hearing for the purpose of determining Plaintiffs’

 emotional distress damages and punitive damages is set for

 ________________, 2018, at ________ __.m., in Courtroom 16 North of the

 Thomas F. Eagleton United States Courthouse, 111 South 10th Street, St.

 Louis, MO 63102.

          Plaintiffs, as the prevailing parties in this action, are entitled to

 recover the costs of this action, together with a reasonable attorney fee.
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 Plaintiffs must submit their petition for fees and costs to this Court no later

 than ______________________, 2018.



       IT IS SO ORDERED this ______ day of __________, 2018.




                                                __________________________
                                                Hon. Jean C. Hamilton
                                                United States District Judge
